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                     IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v                                      )          CR. NO. 1:08cr29-MEF
                                              )                  [wo]
LEMONT ISRAEL NORWOOD                         )

                               ORDER OF DETENTION

       In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the Court held a

detention hearing on March 14, 2008, pursuant to the Government’s Motion for Detention.

In open court, Defendant waived his right to a hearing, and the court therefore detains

Norwood pending trial. Accordingly, the Government’s Motion for Detention (Doc. #10,

filed March 11, 2008), is GRANTED.

       Therefore, it is ORDERED that the defendant is committed to the custody of the

Attorney General or his designated representative for confinement in a corrections facility

separate, to the extent practicable, from persons awaiting or serving sentences or being held

in custody pending appeal. The defendant shall be afforded a reasonable opportunity for

private consultation with defense counsel. On order of a court of the United States or on

request of an attorney for the Government, the person in charge of the corrections facility

shall deliver the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.



       DONE this 14th day of March, 2008.

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                       /s/ Terry F. Moorer
                       TERRY F. MOORER
                       UNITED STATES MAGISTRATE JUDGE




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